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 7                             UNITED STATES DISTRICT COURT
 8                          SOUTHERN DISTRICT OF CALIFORNIA
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      TRICIA RESENDIZ; JOSE RESENDIZ,                                CASE NO. 12-CV-2187-IEG (RBB)
10
                                            Plaintiffs,              ORDER GRANTING JOINT
11                                                                   MOTION TO DISMISS ACTION
              v.                                                     WITH PREJUDICE
12
      MIDLAND CREDIT MANAGEMENT,                                     [Doc. No. 7]
13    INC.; MIDLAND FUNDING, LLC;
      ENCORE CAPITAL GROUP, INC; DOES 1
14    THROUGH 20, inclusive,
15                                        Defendants.
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17          Presently before the Court is the parties’ joint motion to dismiss the action in its entirety
18   with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(2). [Doc. No. 7.] For good
19   cause shown, the Court GRANTS the joint motion and DISMISSES the action with prejudice.
20   The clerk is directed to close the case.
21          IT IS SO ORDERED.
22   DATED: November 29, 2012                             ______________________________
23                                                              IRMA E. GONZALEZ
                                                                United States District Judge
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